08-13555-mg   Doc 27623-1   Filed 04/27/12 Entered 04/27/12 10:46:50   Exhibits
                                   Pg 1 of 2




                            EXHIBIT 1
                              08-13555-mg         Doc 27623-1        Filed 04/27/12 Entered 04/27/12 10:46:50           Exhibits
                                                                            Pg 2 of 2
                                IN RE LEHMAN BROTHERS HOLDINGS INC., ET AL., CASE NO: 08-13555 (JMP)

                                   OMNIBUS OBJECTION 219: EXHIBIT 1 – VALUED DERIVATIVES CLAIMS

                                                                            ASSERTED                                               MODIFIED
                                          FILED
            NAME            CLAIM #       DATE       DEBTOR                       CLASS     AMOUNT          DEBTOR                         CLASS     AMOUNT
1   YAKIMA-TIETON             3848      04/20/2009   Lehman Brothers Special    Unsecured    $546,568.34*   Lehman Brothers Special      Unsecured     $312,174.00
    IRRIGATION                                       Financing Inc.                                         Financing Inc.
    DISTRICT
    C/O FOSTER PEPPER
    PLLC
    ATTN: JANE PEARSON
    1111 THIRD AVENUE,
    SUITE 3400
    SEATTLE, WA 98101-
    3299
                                                                                TOTAL         $546,568.34                                TOTAL         $312,174.00




            * - Indicates claim contains unliquidated and/or undetermined amounts                                          Page 1 of 1
